Case 23-34815 Document 846-7 Filed in TXSB on 12/04/24 Page 1 of 6




                       EXHIBIT 6
                                                                                                  RECEIVED OR FILED
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         Case 23-34815 Document 846-7 Filed in TXSB on 12/04/24 Page 2 of 6    OF THE PEACE 1-1
                                                                                             HARRIS COUNTY, TEXAS
                                                                                                   10/28/2024 9:32 PM



                                     CAUSE NO. 241100353166

 HOUSTON 2425 GALLERIA, LLC                         §                    JUSTICE OF THE PEACE
              Plaintiff,                            §
                                                    §
 v.                                                 §                   HARRIS COUNTY, TEXAS
                                                    §
 JETALL COMPANIES, INC.                             §                        PRECINCT 1 PLACE 1
            Defendants.                             §
                                                    §

           DEFENDANT JETALL COMPANIES, INC.’S FIRST AMENDED AND
               SUPPLEMENTAL ANSWER TO PLAINTIFF’S PETITION

TO COUNSEL AND THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Defendant Jetall Companies, Inc., sometimes “Jetall” and files this First

Supplemental Answer regarding the lawsuit as stated above. Supplementing Jetall’s general denial

which to the extent needed at all or necessary stands and further denies that all matters have

occurred per TRCP 54 in that there is no evidence Jetall was served with notice. Additionally,

Jetall files this its:

Plea to the Jurisdiction:

      1. Defendant Jetall complains of the interloper and title issues regarding the named plaintiff

         in the lawsuit and moves for dismissal for lack of jurisdiction. As shown in documents

         filed with this Honorable Court the landlord is 2425 West Loop, L.P., not Houston 2425

         Galleria, LLC. The tenant is Jetall Companies, Inc.,

      2. Forcible Detainer is written in Texas jurisprudence to afford the parties a, “…procedure by

         which the right to immediate possession of real property is determined.” Yarto v. Gilliland,

         287 S.W.3d 83, 89 (Tex. App. 2009) quoting Ward v. Malone.

                  “However, where the right to immediate possession necessarily requires
                  resolution of a title dispute, the justice court has no jurisdiction to enter
                  a judgment and may be enjoined from doing so. Because a forcible detainer
                  action is not exclusive, but is cumulative of any other remedy a party may
                                                                                               RECEIVED OR FILED
                                                                 JUSTICE
   Case 23-34815 Document 846-7 Filed in TXSB on 12/04/24 Page 3 of 6    OF THE PEACE 1-1
                                                                                          HARRIS COUNTY, TEXAS
                                                                                                10/28/2024 9:32 PM



            have in the courts of this state, the displaced party is entitled to bring a
            separate suit in the district court to determine the issue of title.”

   Ward v. Malone, 115 S.W.3d 267, 270 (Tex.App.-Corpus Christi 2003, pet. denied)

3. And, “If the question of title is so integrally linked to the issue of possession that possession

   may not be determined without first determining title, the justice court lacks jurisdiction to

   grant an eviction.” Falcon v. Ensignia, 976 S.W. 2d 336,338 (Tex. App. — Corpus Christi

   1998, no pet.)

4. One indication that a justice court, and county court on appeal, is called on to adjudicate

   title to real estate in a forcible detainer case—and, thus exceed its jurisdiction—is when a

   landlord-tenant relationship is lacking. See Ward, precisely.

As to Bankruptcy:

5. Where a Chapter 11 debtor is the landlord on a non-residential real property lease, and the

   property is sold free & clear of liens, and the buyer rejects the lease, does the lease rejection

   terminate the tenant's right to possession even if the lease is current? Citing Fifth Circuit

   law, the tenant's right to possession is not automatically terminated by lease rejection.

   The argument is that notwithstanding Section 363(f) (regarding the effect of a sale free &

   clear of liens), under Section 363(h), the tenant's rights to retain possession are not altered

   by the sale. See In re Royal Bistro, L.L.C., 26 F.4th 326 (5th Cir. 2022)(rejecting Precision

   Indus.); contra Precision Indus., Inc. v. Qualitech Steel SBO, LLC, 327 F.3d 537 (7th Cir.

   2003).

6. The debtor may “reject” a leasehold, but the lessee has the right to remain in the property

   through its term “to the extent that such rights are enforceable under non bankruptcy law.”

   In Re Royal Bistro. And no one has shown that the Defendant Jetall has violated the lease.
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                                                                        JUSTICE
          Case 23-34815 Document 846-7 Filed in TXSB on 12/04/24 Page 4 of 6    OF THE PEACE 1-1
                                                                                              HARRIS COUNTY, TEXAS
                                                                                                    10/28/2024 9:32 PM



                                                PRAYER

          WHEREFORE, Defendant requests that this matter be dismissed for lack of jurisdiction,

or in the alternative for Plaintiff’s failure to show a superior right of possession, and that Defendant

receive any and all relief to which he may be justly entitled, either general or specific, in law or

equity.



                                                Respectfully submitted,

                                                HILL & HILL, P.C.

                                                 /s/ J. Marcus Hill
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                                                ATTORNEY FOR DEFENDANT,
                                                JETALL COMPANIES, INC

                                  CERTIFICATE OF SERVICE

        I certify that, pursuant to Rule 21a of Texas Rules of Civil Procedure, a true and correct
copy of the above and foregoing has been sent to all counsel either via electronic filing service
and/or facsimile on this 28th day of October 2024.

                                                        /s/ J. Marcus Hill
                                                        J. Marcus Hill


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    Case 23-34815 Document 846-7 Filed in TXSB on 12/04/24 Page 5 of 6    OF THE PEACE 1-1
                                                                      HARRIS COUNTY, TEXAS
                                                                            10/28/2024 9:32 PM



ATTORNEY FOR PLAINTIFF
HOUSTON 2425 GALLERIA, LLC
           Case 23-34815 Document 846-7 Filed in TXSB on 12/04/24 Page 6 of 6

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J Marcus Hill
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Filing Description: Defendant's supplemental answer and plea to the
jurisdiction
Status as of 10/29/2024 2:28 PM CST

Associated Case Party: JETALL COMPANIES INC

Name              BarNumber   Email                   TimestampSubmitted      Status

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James Minerve     24008692    jgm@minervelaw.com 10/28/2024 9:32:04 PM SENT



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